54 Pagelofi

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Doc 1237-21 Entered 08/13/10 15

Case 09-14814-qwz

HORT

(oe
Bz eel? = q
90
Fe.0)
e = EXISTING GRADE
0
ee = FUTURE Grane g
Be
= FLOWLINE ELEVATION
2m,
a = CENTERUME FINISHED GRADE ELEVATD
ie = TOP OF CURS ELEVATION
c NOTES: 2.00% = RATE & DIRECTION OF SLOPE
CONSTRUCTION je
a {STé 10+04,89] — — STATIONING AT BOG (OULDESAQ)
C7) SIDEWALK ACCESS RAMP TYPE ‘D’ PER M.AG. STANDARD DETAIL NO. 254 = PROPERTY LIME i
—— -— — ——__ = RIGHT oF war é
—---—---— = EASEMENT LINE
--------- = GRADE BREAK
B2 STREET (PRIVATE Tt TR ne
SCALE: HORIZONTAL 1” = 40! e tee . 2
os VERTIGAL 1" = 4 = EXISTING CDUTUR ola, Sly
oe 7a = LOT NUHBER Vl aile|/ a]?
HfL] Be] sla
—h—ai__ ss EDGE OF PAVEMENT elels fo) 7
&/S/F/o/4
i iy a AE = SLUBIDINISION,/PHASE BOUINDR'Y wy uy z e
= = 5.FT TRANSITION a|z|/z|//e#
ay (L" GURA TO "ROLL" CURB) ¢|/8/=/a] a
4) ——+——+$— —:- CURB & GUTTER 3 :
ai 6
oF = 8/0 RAH 2 2 =
z
lige a5
i une
a Bo88
cease
Fe BSR 2 ©
ae BASIE OF BEARINGS Buas w
aes ==
tot MORTH O04.3'38" EAST — THE WEST LINE OF THE NORTHWEST QUARTER are Ss
CHW 1/4) OF SECTION 02, TOWNSHIP 20 HORTH, RANGE 18 WEST, GILA & aks wn
- i ARIZOMA ODORDINATE SYSTEM GF 1983 {AZ43—MF}, WEST ZONE, c
ae. MNGHAL FOOT (IFT), UTILIZE FAST STATIC DESERVATIONS
8 4 PROCESSED BY NGS—OPUS. @
a a z MC.5.D. "SD 32% = LATIMDE 35°22, 70054"
wd LOMBTUDE 1140931 57240" (HAD "Ba)
aia weet a HEIGHT 2562483911 | (HAVD'EB)
ji EXISTING GROUND. mR STONE 1/4 COR 3/2 = LATITUDE ASTe's.saaa5 a
ais AT EENTERLINE ae LONGITUDE 114510830. 7: (uan "83} @
o Bie E a i HEIGHT 2498. 20458%F+ BY —
CENTERLINE FG- 5 Ana
peeps a eptzee nee 8 BENCHMARK c
TEs EEE EE || BENCHMARK # "SD 34" H.GS.D, 7a
m8 A 4 ol ELEVATIONS 860-2275
OM me "bs gn
Tee Bileag 65 FT. MORTHEAST oF WH
Tt else BW. AMO THE
Tyr 7Ss ey ., STAMPED "SD 34 1895
a i Sam ; e-i2580 i
: =
=
GEOTECHNICAL NOTE:
ALL CONSTRUCTION SHALL CONFORM WITH THE
SOILS REPORT PREPARED HY. AMERICAN SOLS Qo
ENGINEERING, LLG, y
SSF DA EPTEMAER DS 4
oe PROVECT Me; 1060-GEO Itt
, soe <Q
FEMA FLOOD ZONE S = a
Es FEMA MAP: PANEL NO, O40058 23950 gy wo
Ton oe MAP UPDATE: GGT 20, 2000 G 2 3
ee =
a Pie ss Ba25 LF APORTICN OF PHASE & OF AREA 2 WES “WITHIN
2540 Oise m 2
PVE Ss 2 = n zl
Pun FoR BOKIIDARY LODATIONS. oz i tb
a q tu
DISCLAIMER NOTE w
UTUTY LOCATIONS SHOWN 4 a E
HEREDY ARE APPROXIMATE Qo
ONLY. IT SHALL BE THE z g
CONTRACTOR'S RESPONSIBILITY
To oi tl THE EXACT
y
35 MISTING GROUNDS | FINISH GRADE
AT CENTERLINE | AT GENTERUNE 3
oe te a a a4 ep ag @e aa ae eg ag SHEET
kg ag a aa ap ae Bs as ot " ge Ge Overhead
ca nig ea a ay iB A na a 2 aa Ba
BES ist Se Set Sel fs ad Aist a a fei ae 1-928-753-5551 PP6
i 3 i 3 i GEAR 49 OF 7a SHEETS
S740 sa+00 so+00 40400 400 2400 a5+00 SCl PROJECTS

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NOT FOR CONSTRUCTION 04/12/08 S

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